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                                                                       FILED
                                                          August 12, 2022
                 UNITED STATES FEDERAL DISTRICT COURT CLERK,    U.S. DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS        WESTERN DISTRICT OF TEXAS

                            AUSTIN DIVISION                            CC
                                                    BY: ________________________________
                                                                                  DEPUTY




Kimberly D. Hogan Pro se
Plaintiff / Appellant

                                       CASE NUMBER: 1:21-CV-00892-RP


Aspire Financial, Inc. D/B/A Aspire Lending
and Council Donald E. Uloth
Defendants / Appellees



 2ND AMENDED NOTICE OF APPEAL, COMPLAINT, AND REMOVAL FOR FRAUD
   UPON THE COURT, DENIAL OF DUE PROCESS, EQUAL PROTECTION, AND
    MEANINGFUL ACCESS TO THE COURT, RECORDS TAMPERING CENSORING
EVIDENCE STRIPPING, AND FOR A FRAUDULENT CONCOCTED UNITED STATES DISTRICT
           COURT WESTERN DISTRICT OF TEXAS AUSTIN DIVISION, RICO AND
                    FEDERAL CRIME VIOLATIONS TO OATH OF OFFICE



1. Plaintiff / Appellant:
Plaintiff: Kimberly D. Hogan Pro se
10015 Lake Creek Pkwy. #621
Austin, Texas 78729
kdhogan@ymail.com
(303)246-1587


2. Defendants / Appellees:
Defendant: Aspire Financial, Inc. d/b/a Aspire Lending
4100 Alpha Rd. Suite 300



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Dallas, Texas 75244
(877)325-2009




Defendant’s Counsel: Donald E. Uloth

Texas Bar No. 20374200

18208 Preston Rd. Suite D-9 #261

Dallas, Texas 75252

Phone: (855) 952-4645

Fax: (972) 777-6951

Email: don.uloth@uloth.pro



Trial Court Clerk: Dallas County 162nd District Court

Clerk of the Court: Felicia Pitre

600 Commerce Street, Suite 103

Dallas, Texas 75202

(214) 653-7307

felicia.pitre@dallascounty.org



Trial Court Coordinator: Dallas 162nd District Court

Court Coordinator: Melinda Thomas

600 Commerce Street, Room 730 B

Dallas, Texas 75202

(214) 653-7348

mthomas@dallascourts.org


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Appellate Court Clerk: Dallas 5th Court of Appeals

Clerk of the Court: Lisa Matz

600 Commerce Street, Suite 200

Dallas, Texas, 75202

Phone: (214) 712-3450

Fax: (214) 745-1083

TheClerk@5th.txcourts.gov



Supreme Court of Texas Deputy Clerk:

Deputy Clerk of the Court: Kristen Golby

201 W. 14th Street, Room 104

Austin, Texas 78701

(512) 463-1312

kristen.golby@txcourts.gov




Supreme Court of Texas Clerk:

Clerk of the Court: Blake A. Hawthorne

201 W. 14th Street, Room 104

Austin, Texas 78701

(512) 463-1312



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U.S. District Judge Robert Pitman

501 West 5th Street, Suite 5300

Austin, Texas 78701

(512) 391-8792




U.S. Magistrate Judge Mark Lane

501 West 5th Street, Suite 7400

Austin, Texas 78701

(512) 916-5896 ext. 8705




Tyler Technologies

5101 Tennyson Parkway

Plano, Texas 75024

(972) 713-3700

info@tylertech.com

AND John Does and Jane Does 1- 100 Identities Yet to be determined.




                                         I.




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A Classical Text Book Example of Incompetent Mortgage Lenders with Big Fake Puffing
                                and Untruthful Advertisements

  1.   Aspire Advertises what Great Professional Competent Mortgage Lending it engages
       in ….. NOT TRUE
  2. Plaintiff Hogan was Baited and Lured by Aspire Lending into a Mortgage
       Agreement WHICH AFTER CONSIDERABLE effort on Plaintiff’s Part, the
       Mortgage Loan was APPROVED, after Aspire instructed Her to sell Her Colorado
       Home. Aspire Approved the Mortgage Financing for a replacement home in Texas
       for Plaintiff Hogan who based on the APPROVAL relocated to Texas to Close on the
       Newly Financed Home to replace Her Colorado Home.
  3. After Plaintiff Hogan spent many, many thousands of dollars and hundreds of hours
       securing the Newly APPROVED Mortgage Financing, the Incompetent, Grossly
       Negligent and Deceptive Aspire Mortgage Lending REVERSED Their Approval
       seriously DAMAGING Plaintiff in Her relocation and costing Her huge amounts of
       time effort and Money.
  4. The State District Court Clerks operate an E Filing System under contract with the
       State Courts of Texas. The exhibits, evidence and proof of the Incompetant,
       Deceptive Breach of the Approved Mortgage Financing was stripped out of the Case
       by the E Filing System and the State Courts REFUSE to accept the Fact that the
       Tyler Technologies Inc. and the State Court REMOVED Her Evidentiary Materials
       from the Case, thereafter ruling against Her because E File Tyler Technologies
       STRIPPED THE EVIDENCE FILINGS from the Case.
  5. Aspire is NOT Professional nor Competent as Their Claimed EXCUSE for
       Reversing the Approved Mortgage Financing was some Manufactured Claim of
       Their Mistake. Aspire Reversed The Approval based on Their Negligence and
       Incompetence.
  6. The E Filing System, The Court Clerks and the Judges below have ignored the Facts
       and Law in this Cause and have BENT OVER BACKWARDS to protect and serve
       the Interests of Aspire Mortgage Lending, Their Lawyers, E Filing and Tyler
       Technologies. The APPROVED Mortgage Loan, after Aspire instructed Plaintiff
       Hogan to Sell Her Colorado Home, the Breach of the Approval and all of Plaintiff

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       Hogan’s Damages are traceable to the Incompetence and Deception of Aspire, Tyler
       Technologies, Their Lawyers and the Judges in the State Courts below.

Plaintiff Hogan is being COURT STRIPPED and Denied Her Rights in Her Property and
the Rights She has to recover in this Cause by the Incompetant Unprofessional and
DISHONEST conduct being waged against Her.




3. Jurisdiction Plea:

“A plea to the jurisdiction contests the trial court’s power to determine the subject matter of the
controversy. Texas Dept. of Parks & Wildlife v. Miranda, 133 S.W.3d 217, 226 (Tex. 2004); Texas
Highway Dep’t v. Jarrell, 418 S.W.2d 486, 488 (Tex. 1967). Subject matter jurisdiction is
essential to the authority of the court to decide a case. Texas Ass’n of Bus. v. Texas Air Control
Bd., 852 S.W.2d 440, 443 (Tex. 1993).”


28 U.S. Code § 1331 - Federal question
The district courts shall have original jurisdiction of all civil actions arising
under the Constitution, laws, or treaties of the United States.

Denial of Meaningful Access to the Courts of the State of Texas

Denial of Equal Protection of the Laws

Denial of Due Process of the Laws

Stripping Evidence from Kim Hogan’s Case and Bastardization of the Court
Records by Electronic Computer, Internet Means by the Appeals Court and
Supreme Court of Texas.


Rule 8. General Rules of Pleading
(a) Claim for Relief. A pleading that states a claim for relief must contain:

     (1) a short and plain statement of the grounds for the court's jurisdiction, unless the
  court already has jurisdiction and the claim needs no new jurisdictional support;



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     (2) a short and plain statement of the claim showing that the pleader is entitled to
  relief; denial of Equal Protection Due Process and Meaningful Access

  COURT FRAUDS and Fraudulent Entry of FRAUDULENT JUDGEMENTS

     (3) a demand for the relief sought, which may include relief in the alternative or
  different types of relief.

  Therefore, since the Horrendously Fraudulent and Abusive Magnitude of the Subject Matter
  of this Case, United States Court of Appeals for the 5th Circuit is the proper
  Jurisdiction for handling this Case.




4. Alligation 1

I, Kimberly D. Hogan am Filing this Notice of Appeal and COMPLAINT, seeking

Removal, and herewith Appeals into the United States Federal District Court Austin

Division.

reasons:

I was APPROVED, Under Contract, and Congratulated for my Approved Mortgage

Funding Contract by Aspire for my new home. I was set to close on the New Purchase

in Texas, AFTER I sold my Colorado Home as I was instructed to do so by Aspire.

(see Accepted and Filed on the Record Exhibit E / Contract pages 1-30:

https://documentcloud.adobe.com/link/review/?locale=en-US&uri=urn%3Aaaid%3Ascds

%3AUS%3A05nZlRvJSP2LQ4r00XxUDA and Exhibit F/ Congratulations on the

Contract and Termination of Contract pages 1 and 2:

https://documentcloud.adobe.com/link/review/?locale=en-US&uri=urn%3Aaaid%3Ascds

%3AUS%3ASUGRq2EzR62j_SLL5MKjWw ). Also, Must Hear Aspire’s former and




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since Resigned Vice President Stephen Barton admit their Wrongs done to me in Part of

Exhibit D here: https://youtu.be/-SkslVmUs0w

This is a Mortgage Fraud Case for Deceptive Trade Practices, Promissory Estoppel, Common

Law Fraud, Reckless Misrepresentation, Detrimental Reliance, and Breach of Contract, because

Aspire Lending Baited and Lured me to Sell my Colorado home in order to get their

Loan to purchase my new Texas home and then reneged …. Some weeks thereafter

ASPIRE reneged and claimed as an excuse they violated HUD Handbook Rule 4155.1 and

Underwriting Rules for Soft Income, Aspire’s Loan Agent Rhonda Hurst was reported and

ordered to Cease and Desist, was found guilty and fined, BY THE STATE OF TEXAS and

thereafter lead to her resignation (see Accepted and Filed on the Record Exhibit A for Cease and

Desist Order, with HUD Handbook and Underwriting Rules Violations pages 1 through 8:

https://documentcloud.adobe.com/link/review?uri=urn:aaid:scds:US:89129d10-ffcd-4400-8f88-2

b9b0d1e2135). The EXCUSE , Deceit and Lies runs deep with Aspire which explains

the Termination of these 41 out of 45 business locations, and the Removal of their

CFO Katie Miller and her CEO husband Kevin Miller. See Proof here:

https://documentcloud.adobe.com/link/track?uri=urn:aaid:scds:US:e8db68f8-571b-49be-8e4d-4a

7d6fc2c82f and here:

https://documentcloud.adobe.com/link/track?uri=urn:aaid:scds:US:2451c9a9-381c-4421-ac07-f4

43e108a7f1


Relying on Aspire’s Representation that I SELL my Colorado Residence in exchange for an

Aspire Mortgage, I Sold my Colorado Residence, and it was to my Detriment. . Aspire

thereafter attempted to PUNISH me and did by Filing a Knowingly, Abusive and False

Counterclaim for Defamation (I Won “With Prejudice”). after a Negligent Wrongful Summary


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Judgement due to my Court Stripped Evidence and Exhibits being Criminally Removed from the

Record prior to the hearing. (See Civil Court Final Judgement:

https://documentcloud.adobe.com/link/review?uri=urn:aaid:scds:US:c3b70c9a-1185-4f40-b82b-

5b792124102f ).




5. Alligation 2

MASSIVE FRAUD via Court Stripping of Evidence and Exhibits started within the 162nd

Civil District Court during the KNOWINGLY WRONGFUL SUMMARY JUDGEMENT

HEARING (when Judge Maricela Moore REFUSED to take a short recess to inquire

with her Court Coordinator Melinda Thomas and/or the Clerk of the Court Felicia Pitre,

to see where my successfully submitted Evidence and Exhibits were and why they were

not on her desk, and when she also REFUSED another offered copy by the Defendant’s

Council and myself to be provided; Judge Moore instead rushed forward into making me

the Defendant in the now KNOWINGLY FALSE COUNTER CLAIM OF DEFAMATION,

which I Won With Prejudice!), then the Fraud Upon and By The Court continued through

the Dallas 5th Appellate Court, and again in the Texas Supreme Court with the

Fraudulent Judgment denying Petition, and YET AGAIN by the U.S. Federal District

Court Judges Mark Lane and Robert Pitman’s KNOWINGLY LYING FALSE AND

FRAUDULENT Claim of My Above and Beyond INDISPUTABLY PROVEN Claims

(Contained Within Every Filing same as with This One) as Frivolous, Fantastical,

Meritless, and delusional. See Lane’s Fraudulent “Suggested Dismissal” Here:

https://acrobat.adobe.com/link/review?uri=urn:aaid:scds:US:f1df4c34-5620-486c-859b-e

5f27ea088fb


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See My OBJECTION Here:

https://acrobat.adobe.com/link/review?uri=urn:aaid:scds:US:58aa3128-0565-43cb-9504

-4d507916e351

And see Pitman’s Final and Fraudulent Dismissal Here:

https://acrobat.adobe.com/link/review?uri=urn:aaid:scds:US:1ab90d20-5229-44a7-a337

-8c2eebf61f5b

By ignoring proper evidence before these Courts and criminally altering, CENSORING,

and stripping the record, complete deprivation of My Rights has been inflicted upon

Me by every level of these Texas and Federal Courts. Total Violation of U.S.

Constitutional and Texas Constitutional Due Process and Equal Protection by the lower

162nd District Court, the Dallas 5th Appellate Court, the Texas Supreme Court, and now

the U.S. Federal District Court Austin Division has been perpetrated by them. These

Courts Stripped me of My 14th Amendment Rights. (See 14th Amendment:

https://law.justia.com/constitution/us/amendment-14/04-due-process-of-law.html ).

These Courts unlawfully CENSORED, removed, extricated Evidence and Exhibits from

the Record of this live and ongoing case (which Dallas 5th Appellate Court Clerk

Lisa Matz alludes to and appears to have actually Admitted to right

here:https://acrobat.adobe.com/link/review?uri=urn:aaid:scds:US:d1e2b744-899b-

4d02-859f-eb8d2ac31a42), which was always SUCCESSFULLY SUBMITTED at

EVERY Filing through the Tyler Technologies Texas E-file System (which Tyler

Technologies Confirmed here:https://youtu.be/O-JEl2BIMJU), plus I submitted via

Certified Mail and Hard Copies numerous times. (See: Appellant’s Accepted and Filed

on the Record “Motion to Correct the Record”:




                                                                                      10
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https://documentcloud.adobe.com/link/review/?locale=en-US&uri=urn%3Aaaid%3Ascds

%3AUS%3AJ-9jLOBPRhe3CxbvJO9iQg).

The Courts through the Tyler Technologies E-file System fraudulently Cleaned and

Scrubbed the Record of ALL my Evidence and Exhibits, until finally last minute after

realizing they were still not admitted onto the record for Texas Supreme Court, I raised

Hell amongst the Clerks and Demanded they be admitted immediately, and supplied

them once again Attached in a Accepted Filed Letter. (see “Letter to Clerks” here:

https://documentcloud.adobe.com/link/review?uri=urn:aaid:scds:US:a1178bfd-ef14-4b3

4-883a-3a5af264544c ).

With My Exhibits and Evidence still missing from the Record. I was “DENIED” my

earlier Motion to Correct the Record with an

UNSIGNED / NO SIGNATURE, UNSIGNED Notice from SUPPOSEDLY

Justice Craig Smith, without even a hint or reason stated from the Court for the

Denial. (See Denial:

https://documentcloud.adobe.com/link/review?uri=urn:aaid:scds:US:07049492-bb57-

42dc-8bad-ca788402171a ).

I was Yet Again “DENIED”, this time my SCOTEX Petition (without even a hint or

reason stated from Anyone!) on an UNSIGNED / NO SIGNATURE, UNSIGNED

Fraudulent Judgment Notice (therefore I am forced to have to hold the whole

panel of SCOTEX Justices Accountable), and ironically as if a slap in the face it

was dated CONSTITUTION DAY 09/17/2021. Disgusting! (See the supposed

SCOTEX Petition Denial:

https://documentcloud.adobe.com/link/review?uri=urn:aaid:scds:US:78a2fdcf-bd3

2-4625-bd87-1d3d95af587b

                                                                                       11
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Aspire / Texas Lending is directly enriched by and gains Mortgage Funding from

Partners and Mutual Owners of the Banks, S&Ls and even the Financiers of HUD’s and

FHA’s Mortgage Lending MATRIX / SYSTEM. By “Following The Money” as to who

funds Aspire, Texas Lending, EFile and Tyler Technologies, it’s is traceable to

BlackRock , Vanguard Investments and a Plethora of Pension Funds and Investment

Groups beholding to the Federal Reserve, Federal Home Loan Bank Board, FHA, HUD

and in General the State of Texas and US Governments. The Financial Ties and

Conflicts of Interest reveals and makes perfect sense why my Evidence and

Exhibits (including My Rights) were Court Stripped. The Globalist

Banksters Blackrock Investments, Vanguard Investments etc etc Et Al Fund Tyler

Technologies and EFile funding them Both. (see proof:

https://fintel.io/news/blackrock-inc-cuts-stake-in-tyl-tyler-technologies-inc-0.3403336436

453458

And:

https://www.stockninja.io/stocks/tyl/ownership/

Also:

https://www.tylertech.com/about-us ).

Tyler Technologies is the Server running The Government, Department of Justice

websites, and now Law Enforcement! (see proof:

https://www.police1.com/iacp/articles/tyler-technologies-launches-digital-evidence-board-software-9lqSsD

5MwM3rXQjS/ ).

Stripping Evidence using EFile seems to be ACCEPTABLE to the Texas Courts and

leads to the Question HOW MANY OTHERS ARE BEING Defrauded, Cheated and


                                                                                                     12
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Court Stripped by these CONFLICTS OF INTEREST! JUSTICE DENIED , BOUGHT

AND SOLD PAID FOR by the Investors of EFile and Tyley Technologies?

BLACKROCK VANGUARD and THE GOV with THE DOJ all interface with and are

controlled by EFile and Tyler Technologies ? The Corrupt, Underhanded STRIPPING

of the Evidence from My Cases and the FRAUD BY THESE COURTS needs to be

fully REVIEWED, Corrected, and Punishment for these Crimes, and Violations of

Oaths of Office need to be adhered to. (See 5 U.S. 7311 & Exc. Order 10450:

https://documentcloud.adobe.com/link/review?uri=urn:aaid:scds:US:65529d47-43ee-4fd

a-85a8-ccb277310ebe ).

Sure appears my Judges in the lower courts May have some Financial Interests, which

wouldn’t be a first, nor surprising! (see articles:

https://www.wsj.com/articles/131-federal-judges-broke-the-law-by-hearing-cases-where-they-had-a-financ

ial-interest-11632834421

https://www.reuters.com/investigates/special-report/usa-judges-misconduct/ ).



I personally DO NOT take kindly to Racketeering Violations and the Blatant Conflicts of

Interests and Nullification of The Texas and United States Constitutions. It was My

Family Members (Daniel Carroll and Charles Carroll) who assisted in the Writing of and

Signing of it, including The Declaration of Independence. Anyone can look up my Royal

Ancestry in Any Genealogy Library going all the way back to the Pharaohs in order to

search that Fact. Here is a link from a portion of my Royal Ancestry Bloodline Family

Tree, where I am listed on page 32 (see pages 1, 9, 32, and 34 for proof here:

https://documentcloud.adobe.com/link/review?uri=urn:aaid:scds:US:38d7784c-f47d-499

7-83da-b2da899968c7



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EFile Strips Evidence and MY CASE NEEDS TO BE ALLOWED A FAIR

IMPARTIAL TRIAL WITH ALL MY EVIDENCE AND EXHIBITS Properly

Considered, and this time I will Not be Denied I DEMAND FULL and

ROBUST Discovery as I was denied such in the 162nd District Court in

Dallas.




                            STATEMENT OF RELIEF



As any Normal Thinking Human Being can possibly Imagine, this has been an

Extremely Long and Intense Emotional, Mental, Spiritual, and Physical (Health/Stress)

Battle from Hell for Justice and Sought Damages, and especially without Council. I had

to learn and Research countless thousands of hours as if a Lawyer or Law Student

myself, in order to come thus far as a Pro se Litigant; something I never would have

willingly chose as a Career otherwise, especially now after 1st hand witnessing what a

Disgrace and Unjust Corrupt System it has become. Our Founding Fathers must be

Rolling Over in their Graves. Clearly the System needs an overhaul and clean up.

Justice For All Needs to be Restored in and by the Courts, and until then….. No Justice

No Peace. That being said, I believe One Million in REAL Money (Silver and Gold) PER

YEAR of my time doing battle against Aspire and the Lower Courts Frauds, is an

Acceptable amount and form of Relief.




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Lastly and Also I demand Punitive Damages be assessed and awarded as the

MANY CONFLICTS OF INTEREST and Blatant Lies and Fraud Upon The Court

with Tyler Technologies, EFile, Aspire Lending, the Texas Courts, and U.S.

Federal District Court Texas Western District Austin Division. ALL OF THE

COURTS HAVE FRAUDULENTLY STRIPPED MY RECORDS AND EXHIBITS

CONTINUOUSLY BEGINNING FROM DAY ONE STRIPPING ME OF MY RIGHTS.



                                                            /s/ Kimberly D. Hogan
                                                                Kimberly D. Hogan
                                                     10015 Lake Creek Pkwy. #621
                                                               Austin, Texas 78729
                                                                    (303)246-1587
                                                              kdhogan@ymail.com



                                August 12th, 2022




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